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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

STATE OF TEXAS, et al.,

        Plaintiffs,

v.                                                           No. 5:22-CV-185-H

XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services,
et al.,

        Defendants.
                                        JUDGMENT
          In accordance with the parties’ Joint Status Report (Dkt. No. 105) and for the

reasons stated in the Court’s Memorandum Opinion and Order granting Plaintiffs’ Motion

for Preliminary Injunction (Dkt. No. 73), the Court enters this final judgment pursuant to

Federal Rule of Civil Procedure 54(b). Specifically, the Court enters a Rule 54(b) final

judgment with respect to (i) Plaintiffs’ Count 2—alleging that the HHS Guidance (Abortion

Mandate) exceeds statutory authority, and (ii) Plaintiffs’ Count 3—alleging that Defendants

failed to conduct notice and comment in accordance with the requirements of the Medicare

Act. See Dkt. No. 18 (Plaintiffs’ Amended Complaint) at 22–25; Dkt. No. 73

(Memorandum Opinion and Order granting Preliminary Injunction) at 39, 55.

          Pursuant to Rule 54(b), the Court expressly determines that there is no just reason

for delay and directs the Clerk of Court to enter this as a final judgment. The Court stays

the Plaintiffs’ remaining claims pending resolution of any appeal from this judgment. The

Court instructs the clerk to administratively close this case. The parties must notify the

Court when the appeal is resolved and this case is ready for further litigation or resolution.
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    So ordered on December 20, 2022.



                                        JAMES WESLEY HENDRIX
                                        UNITED STATES DISTRICT JUDGE




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